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 6                            UNITED STATES DISTRICT COURT
 7                          SOUTHERN DISTRICT OF CALIFORNIA
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 9   VISTA VERDE MASTER ASSOCIATION,                     Case No.: 20-CV-2134-BEN-KSC
                       Plaintiff,
10
     v.
                                                         ORDER GRANTING MOTION TO
11                                                       EXTEND DEFENDANT’S TIME TO
     BROKER SOLUTIONS, INC. DBA NEW                      RESPOND TO COMPLAINT
12
     AMERICAN FUNDING, a Corporation,
13   MORTGAGE ELECTRONIC REGISTRATION
     SYSTEMS, INC., acting solely as a nominee for
14
     BROKER SOLUTIONS, INC. dba NEW
15   AMERICAN FUNDING, a Corporation,
     LAKEVIEW LOAN SERVICING LLC, MCT
16
     GROUP, SAN DIEGO COUNTY
17   DEPARTMENT OF CHILD SUPPORT
     SERVICES, INTERNAL REVENUE SERVICE,
18   OTAY WATER DISTRICT,
19                     Defendants.
20
21         Defendant the Internal Revenue Service filed a Motion for an Extension of Time to
22   Respond to Complaint. ECF No. 4. For good cause shown, the Court GRANTS the
23   motion. Defendant IRS may file its answer or responsive pleading on or before
24   November 30, 2020.
25         IT IS SO ORDERED.
26   Dated: November 9, 2020                         ______________________________
27                                                   HON. ROGER T. BENITEZ
                                                     United States District Judge
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